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 DISTRICT OF OREGON, ss:                              AFFIDAVIT OF DOMINIC SANCHEZ

              Affidavit in Support of a Criminal Complaint and Arrest Warrant

        I, Dominic Sanchez, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

        1.      I am a Special Agent with the Federal Bureau of Investigation and have been

 since November 2018. My current assignment is on the Violent Crimes Squad which includes

 conducting robbery and human trafficking investigations, as well as investigations into other

 violations of federal law. My training and experience includes over one thousand hours of

 training and over ten years of federal law enforcement experience.

        2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

 Charles Randolph COMFORT for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set

 forth below, there is probable cause to believe, and I do believe, that COMFORT has assaulted

 Portland Police Bureau (PPB) officers for the purpose of obstructing, impeding, or interfering in

 a violent manner with such law enforcement officers; that he did so knowingly and willfully; and

 that he did so during a civil disorder that adversely affected interstate commerce.

                                          Applicable Law

        3.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

 commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

 lawfully engaged in the lawful performance of his official duties incident to an during the

 commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

 commerce or the movement of any article or commodity in commerce . . . shall be fined under

 this title or imprisoned not more than five years or both.” The term “civil disorder” means “any

 public disturbance involving acts of violence by assemblages of three or more persons, which
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causes an immediate danger of or results in damage or injury to the property or person of any

other individual.”

                                   Statement of Probable Cause

         4.      The information stated herein is based on my own personal involvement in this

investigation, as well as my discussions with other law enforcement officers involved in this

investigation, and information I have read that is contained in written reports pertaining to this

investigation. This affidavit does not include all facts known to me regarding this investigation

but contains only those facts which I believe are sufficient to establish the requisite probable

cause.

         5.      On May 25, 2020, George Floyd died during his arrest by law enforcement

officers in Minneapolis, Minnesota, sparking nationwide protests that eventually extended to

Portland, Oregon. The protests have, at times, included violence, civil disorder, arson, and

looting.

         6.      In the evening on June 25, 2020, a group of individuals blocked traffic on NE

Martin Luther King Jr Boulevard and NE Emerson Street, near PPB’s North Precinct.

Dumpsters were being taken from nearby businesses and rolled into the streets and fireworks

were thrown over the barricade on NE Emerson Street at the officers stationed there. An

unlawful assembly was declared at approximately 1:10 a.m. on June 26, 2020, and PPB made

repeated public address announcements telling the group to leave the area.

         7.      A PPB Rapid Response Team (RRT) officer was assisting with moving the crowd

that was in the middle of NE MLK Blvd and witnessed an individual, later identified as

COMFORT, carrying a black shield that covered his torso while he blocked the street. As the

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PPB RRT line moved toward the crowd, the officer witnessed COMFORT charge at another

PPB officer while carrying the shield. The PPB officer pushed COMFORT away, but

COMFORT immediately charged at the officer again. A second PPB officer also witnessed

COMFORT charge at the officer while holding his shield. COMFORT was instructed to leave

the area by multiple officers, but instead dropped his shield and refused to leave.

        8.       Upon refusing to leave, COMFORT was advised he was being placed under arrest

by the PPB officer. When the officer and his partner attempted to restrain him, COMFORT

actively tried to pull away and kicked the PPB officer multiple times, resulting in the PPB officer

falling to his knee.

        9.       COMFORT was ultimately taken to the ground, at which point he no longer

resisted and was placed in handcuffs. COMFORT requested to call his lawyer after being

advised of his Miranda warnings.

                                             Conclusion

        10.      Based on the foregoing, I have probable cause to believe, and I do believe, that

COMFORT knowingly, willfully and intentionally obstructed, impeded, and interfered with law

enforcement officers who were engaged in the lawful performance of their duties when

COMFORT at least twice charged into a PPB officer and kicked another PPB officer. All of

these actions took place during a civil disorder that adversely affected interstate commerce in

violation of 18 U.S.C. § 231(a)(3). I therefore request that the Court issue a criminal complaint

and arrest warrant for COMFORT.

        11.      Prior to being submitted to the Court, this affidavit was reviewed by Assistant

United States Attorney (AUSA) Thomas S. Ratcliffe. AUSA Ratcliffe advised me that, in his

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opinion, the affidavit is legally and factually sufficient to establish probable cause to support the

issuance of the requested criminal complaint and arrest warrant.

                                        Request for Sealing

       12.      I respectfully request that the Court issue an order sealing, until further order of

the Court, all papers submitted in support of the requested criminal complaint and arrest warrant.

I believe that sealing these documents is necessary because any disclosure of the information at

this time may endanger the life or physical safety of an individual, cause flight from prosecution,

or otherwise seriously jeopardize an investigation, including the planned arrest of the defendant.


                                                    /s/ Dominic Sanchez
                                                    Dominic Sanchez
                                                    Special Agent, Federal Bureau of Investigation



       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at
  6:17pm on September _____,
__________                  4 2020.



                                                       ________________________________
                                                       THE HONORABLE JOLIE A. RUSSO
                                                       United States Magistrate Judge




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